   Case 2:10-md-02179-CJB-DPC Document 5619-1 Filed 02/08/12 Page 1 of 5




                           UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL BY THE OIL RIG     *    MDL NO. 2179
“DEEPWATER HORIZON” IN THE          *
GULF OF MEXICO, ON APRIL 20,        *    SECTION: J
2010                                *    JUDGE BARBIER
                                    *    MAGISTRATE JUDGE SHUSHAN
THIS DOCUMENT RELATES TO *
ALL ACTIONS                         *
                                    *
                                    *
*****************************************************************************

                     MEMORANDUM IN SUPPORT OF
                BP’S OBJECTIONS TO AND APPEAL FROM
               MAGISTRATE JUDGE’S ORDER REGARDING
  BP’S MOTION TO COMPEL LIVE TRIAL ATTENDANCE OF STEVEN NEWMAN
                           [REC. DOC. 5557]



       On January 25, 2012, BP Exploration & Production Inc. (“BP”) filed a motion to assert

that the President and CEO of Transocean should appear live at trial. BP’s motion contended

that Steven Newman was subject to subpoena “as an officer of a party” pursuant to Rule 45(c)(3)

of the Federal Rules of Civil Procedure (Record Doc. No. 5409). This rule permits a trial

subpoena to be served on a “party” or a “party’s officer.” Mr. Newman is an officer of

Transocean Ltd., an entity named as a party in the Plaintiffs’ Master Answer and Master

Complaint/Complaint in Admiralty (Record Doc. No. 897). Transocean contended, and Judge

Shushan agreed, that Transocean Ltd. “is not a party for purposes of application of Rule 45.” See
    Case 2:10-md-02179-CJB-DPC Document 5619-1 Filed 02/08/12 Page 2 of 5




Order, Record Doc. No. 5557.1 The Court appears to have determined that Transocean Ltd.,

although named as a party by the Plaintiffs (and named a party by BP and other Rule 14(c)

defendants via cross-claim), is not one of the four Transocean subsidiaries of Transocean Ltd.

who filed this Limitation Action as Plaintiffs-in-Limitation. The Court, therefore, effectively

determined that Rule 45’s effect is limited to the parties who voluntarily filed the Limitation

Action but does not apply to the corporate Transocean entity whom others chose to implead into

the litigation. BP respectfully submits that this ruling is clearly erroneous and contrary to law

within the meaning of Rule 72 of the Federal Rules of Civil Procedure.

        Rule 45(c)(3) permits a trial subpoena to be served on a “party” or a “party’s officer.”

The Court has nationwide subpoena power to compel the appearance of parties and corporate

officers. See In Re Vioxx Products Liability Litigation, 438 F.Supp. 2d 664 (E.D. La.) 2006).

Review of Record Doc. Nos. 879 and 2074 proves that Transocean Ltd. is a party to this action.

Accordingly, Mr. Newman, who has been deposed in this action, should be compelled to testify

live at trial since he is subject to a Rule 45 subpoena. BP believes that it will be worthwhile for

the trier of fact to hear the following testimony from the President and CEO of Tranoscean:

       Transocean is the largest, most sophisticated, and most experienced offshore driller for
        technically-demanding environments, including those situations in which the pore
        pressure-fracture gradient is routinely narrow;

       Mr. Newman personally reviewed and signed the corporate Health and Safety Policy
        Statement effective as of December 15, 2009 (Ex. 1449);

       Transocean had primary responsibility for the safety of all of its operations, and its
        practice was to have Transocean’s HSE policies govern on its drilling rigs;

       The Transocean Driller’s key responsibilities include constant monitoring of the well for
        signs of a kick, and this responsibility is not contingent on the type or quality of the



1
    Attached as Exhibit A.


                                                2
      Case 2:10-md-02179-CJB-DPC Document 5619-1 Filed 02/08/12 Page 3 of 5




          cement poured, the choice by the customer of the type of casing to be employed, or the
          number of centralizers chosen;

         The Driller is supposed to divert well fluids overboard if an influx gets into the riser, not
          divert to the mud-gas separator;

         Mr. Newman received daily incident reports from Transocean’s fleet of 140 vessels
          around the world; notably, he quizzed his Gulf of Mexico management about a Driller on
          NAUTILUS for failing to pay attention on the drill floor for more than an hour (Ex.
          5645);

         Mr. Newman received kick statistics and will testify that “kicks are not uncommon.”
          Transocean expects its Drillers to catch and control kicks so they do not expand beyond
          20 barrels in volume;

         During 2005 – 2009, Transocean rigs working on behalf of BP sustained no kick greater
          than 20 barrels; Shell, Chevron, and Anadarko were Transocean customers whose rigs
          sustained kicks greater than 20 barrels.

      These and other key points BP will prove through Mr. Newman are best made via live

testimony. Live testimony on critical subjects from Mr. Newman will be key evidence showing

the relative roles of the well operator and the drilling contractor, the primary role Transocean

possessed for safety of the Transocean rig and the personnel aboard, and Transocean’s Driller’s

key responsibilities for well monitoring, kick detection, and well control.

      Transocean made two points against this motion: 1) Although Transocean Ltd. is the 100%

owner of the four parties who actually filed this Limitation Action, the parties have stipulated to

defer “corporate veil” testimony with regard to the parent holding company (Transocean Ltd.);

and 2) BP made its request for Mr. Newman too late in the proceeding. Judge Shushan’s Order

found that BP’s request was timely; however, the Court ruled Transocean is not a party for Rule

45 purposes. As BP advised Judge Shushan, however, the stipulation2 by its terms bars only

“further discovery and briefing on the issue of personal jurisdiction with respect to Transocean



2
    Attached as Exhibit B.


                                                   3
   Case 2:10-md-02179-CJB-DPC Document 5619-1 Filed 02/08/12 Page 4 of 5




Ltd” (Record Doc No. 2274). BP does not seek Mr. Newman’s appearance at trial to prove

personal jurisdiction over Transocean Ltd. BP seeks only substantive, merit-based testimony

outlined above. BP’s Rule 45 subpoena request in no way undermines the stipulation. In fact,

the opposite is true.   The stipulation allows counsel to accept service of process without

prejudice to any personal jurisdiction defense.

       Accordingly, BP respectfully submits that Judge Shushan’s Order is clearly erroneous

and should be reversed. Mr. Newman should be compelled to provide live testimony at the

upcoming trial.


Dated: February 8, 2012                       Respectfully submitted,

                                              /s/ Don K. Haycraft
Robert C. “Mike” Brock                        Don K. Haycraft (Bar #14361)
Covington & Burling LLP                       R. Keith Jarrett (Bar #16984)
1201 Pennsylvania Avenue, NW                  Liskow & Lewis
Washington, DC 20004-2401                     701 Poydras Street, Suite 5000
Telephone: 202-662-5985                       New Orleans, Louisiana 70139-5099
Facsimile: 202-662-6291                       Telephone: 504-581-7979
                                              Facsimile: 504-556-4108

Robert R. Gasaway                             Richard C. Godfrey, P.C.
Jeffrey Bossert Clark                         J. Andrew Langan, P.C.
Aditya Bamzai                                 Kirkland & Ellis LLP
Kirkland & Ellis LLP                          300 North LaSalle Street
655 Fifteenth Street, NW                      Chicago, IL 60654
Washington, DC 20005                          Telephone: 312-862-2000
Telephone: 202-879-5000                       Facsimile: 312-862-2200
Facsimile: 202-879-5200

                        Attorneys for BP Exploration & Production Inc.




                                                  4
   Case 2:10-md-02179-CJB-DPC Document 5619-1 Filed 02/08/12 Page 5 of 5




                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 8th day of February, 2012.


                                                   /s/ Don K. Haycraft
                                                   Don K. Haycraft
